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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


BERKELEY VENTURES II, LLC
    Plaintiff,
               v.                                       Civil Action No.
                                                       1:19-cv-05523-SDG
SIONIC MOBILE CORPORATION,
ET AL,
     Defendants,

                                    ORDER

      This matter is before the Court on the parties’ Joint Motion to Extend

Discovery [ECF 173]. For good cause shown, the motion is GRANTED. The

discovery period in this matter is extended through March 1, 2022.

      SO ORDERED this the 7th day of September 2021.




                                                   Steven D. Grimberg
                                             United States District Court Judge
